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                                                    James Freed - About Filed 04/03/20 Page 1 of 1



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@JamesRFreed1

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                                   Born on March 9, 1985

                             CONTACT INFO

                                   communitycomments@porthuron.org

                                   http://www.porthuron.org

                                   jamesfreed

                                   jamesfreed1

                             MORE INFO

                                   Hometown
                                   Port Huron, MI

                                   About
                                   Daddy to Lucy, Husband to Jessie and City Manager, Chief
                                   Administrative Officer for the citizens of Port Huron, MI.

                                   Biography
                                   Under the City Charter Mr. Freed serves as City Manager,
                                   Chief Administrative Officer for the City of Port Huron, MI

                                   At the direction of the Mayor and City Cou... See More

                                   Political views
                                   Conservative

                                   Awards
                                   Crains Detroit Business 40 Under 40 (2016), 2018
                                   Outstanding Young Michigander Award Presented by the
                                   Michigan Chamber Foundation and JCI Michigan, Dr. Martin
                                   L... See More

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                                   Christian

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